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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF OREGON

                              PORTLAND DIVISION

  UNITED STATES OF AMERICA,               ) NO. 3:16-cr-00051-BR-24
                                          )
                           Plaintiff,     )
        v.                                ) DEFENDANT’S SENTENCING
                                            MEMORANDUM
                                          )
  TRAVIS COX,                             )
                                          )
                           Defendant.
                                          )
                                          )


      Please accept this memorandum on behalf of Travis Cox, who is to be

sentenced on August 7, 2017. Mr. Cox pleaded guilty to engaging in a conspiracy

to impede officers of the United States. The statute has no mandatory minimum

and a six-year maximum. Mr. Cox has no objection to the Presentence

Investigation Report prepared by United States Probation Officer Theresa Fuchs.




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                                  Legal Framework

      The sentencing guidelines are advisory, rather than mandatory. United

States v. Booker, 543 U.S. 220, 249-50 (2005). The overarching statutory charge

for a district court is to ‘impose a sentence sufficient, but not greater than

necessary’ to reflect the seriousness of the offense, promote respect for the law,

and provide just punishment; to afford adequate deterrence; to protect the public;

and to provide the defendant with needed educational or vocational training,

medical, care or other correctional treatment. United States v. Carty, 520 F.3d 988,

991 (9th Cir. 2008) (quoting 18 U.S.C. §3553(a)).

                           Defendant’s Recommendation

      Travis Cox is a hard-working and personable young man who has accepted

responsibility for his conduct. At the time of the occupation of the Malheur

National Wildlife Refuge, Mr. Cox was twenty years old. While some defendants

travelled from outside of Oregon to occupy the refuge, Mr. Cox is from central

Oregon. The occupation was—relatively speaking—in his own backyard. After

turning himself in on a warrant, Mr. Cox spent 51 days in custody on this case

before being placed on pretrial release on June 2, 2016. He has done very well on

pretrial release. He is employed and has strong support among family and loved

ones. The Government asks the Court to place Mr. Cox on probation with home

detention along with credit for the time he was incarcerated against the duration of


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that home detention. In light of his youth, the absence of criminal convictions

prior to this case, his exemplary conduct on pretrial release, his nearly two months

in custody prior to being placed on pretrial release, and the immense support he has

from his family and loved ones, this sentencing memorandum recommends that

Mr. Cox receive credit for time served and a one-year period of supervised release

pursuant to 18 U.S.C. §3583.

      The Presentence Investigation Report and Additional Information

      The Presentence Investigation Report (hereinafter “Report”) provides

several important details about Mr. Cox. The Report was originally prepared on

October 24, 2016 and revised on November 17, 2016 and May 11, 2017. It is

useful to elaborate on some of the details provided in the report and to update a

few other items. In the interests of privacy, the names of individuals and

institutions have generally been omitted from this memorandum. Those names are

already in the Report or can be made known to the Court during the sentencing

hearing.

      When the Report was originally prepared, Mr. Cox was employed at a pizza

restaurant. See Report at paragraph 71. That employer was aware of the present

case and permitted Mr. Cox to return to employment after pretrial release was

granted. More recently, Mr. Cox took a better paying job with a construction

company. That employer is also aware of the present case. Both of these are


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relatively small businesses, meaning the bosses know the workers. Both of these

employers recognize that Mr. Cox is a hard-working and generally responsible

young man. Because they are familiar with him and his character, they were

willing to hire him even though they were aware of this case.

      The Report also discusses Mr. Cox’s relationship with his girlfriend. See

Report at paragraph 66. They are now engaged, with a wedding date in late

August of next year. Mr. Cox’s fiancée has been aware of this case from the

beginning, as have her parents. They are a law-abiding family from Mr. Cox’s

community. Like Mr. Cox’s past and present employers, they recognize that Mr.

Cox has made a significant mistake, but that the mistake alone does not fully

define who Travis Cox is.

      In addition, as the Report explains, Mr. Cox had a fairly normal upbringing.

Report at paragraphs 63 and 64. His father is a retired paramedic. His mother

works for a fire department. At the time of the report his sister had received

licensing as an emergency medical technician. She has since become a paramedic.

Mr. Cox has a very good relationship with his mother and sister, though as the

Report notes he has little contact with his father. In June of 2015, after 29 years of

marriage, Travis Cox’s father left his mother for another woman. This was not a

marriage that had been on a slow and obvious decline. This was a sudden and

unexpected end to the family life that Travis Cox had grown up with. No one


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contends that the sudden and unexpected divorce caused the criminal conduct in

this case, but it is at least somewhat notable that Travis Cox has no prior criminal

convictions and that his conduct in this case arose during a time of significant

disruption in his family life.

                        The Competing Recommendations

      The relevant sentencing guideline factors are not in dispute in this case. The

underlying criminal conduct is also not in dispute. The difference between the

recommendations presented by the parties is not large. The Government asks this

Court to place Travis Cox on two-years of probation with a period of home

detention with credit for time in custody against the time on home detention. The

Defendant recommends time served and a one-year period of supervised release.

While the Government supports credit for time served in a fashion, the

Government recommends credit against home detention on a one-day-for-one-day

basis. This seems like an inadequate calculation for the simple reason that one day

in custody is worse than one day on home detention. In fact, fifty-one days in

custody should generally be regarded as a greater punishment and deterrence than

six months of home detention. For that simple and straightforward reason and

because of the factors previously discussed, this memorandum recommends time

served with one-year of supervised release.




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      Undersigned defense counsel has represented hundreds of criminal

defendants and recognizes in Travis Cox the same qualities that his family

members, loved ones, and employers have recognized. Mr. Cox made a mistake.

It was a significant mistake, and Mr. Cox knows that. He has accepted

responsibility for his conduct, and he has worked and continues to work to move

forward on a better path.

DATED this 1st day of August 2017.          Respectfully submitted,

                                            /s/ Paul Hood
                                            PAUL HOOD, OSB No. 132271
                                            Attorney for Travis Cox




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